Case 4:19-cr-00648 Document 13 Filed on 09/04/19 in TXSD Page 1 of 4

United States Courts
Southern Distriet of Texas

FILED
UNITED STATES DISTRICT COURT SEP 042
SOUTHERN DISTRICT OF TEXAS 4 2019
HOUSTON DIVISION David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA §
g x
V. : CRIMINAL NO:: 4 - 6 Y
AJAY DHINGRA :
Defendant. §
INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE

(Unlawful Possession of a Machinegun)
On or about August 16, 2019, within the Southern District of Texas and elsewhere within
the jurisdiction of the Court, defendant,
AJAY DHINGRA,
did knowingly possess a machinegun, to wit: a Slide Fire bump stock.

In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).

COUNT TWO
(False Statement in Connection with the Purchase of Firearms)
On or about September 20, 2016, within the Southern District of Texas and elsewhere
within the jurisdiction of the Court, defendant,
AJAY DHINGRA,

in connection with the acquisition of a firearm, as defined in Title 18 United States Code, Section
Case 4:19-cr-00648 Document 13 Filed on 09/04/19 in TXSD Page 2 of 4

921, to wit:
Colt, model Competition, .223 caliber rifle;

from Gander Mountain #404, Katy, Texas, a federally licensed firearms dealer knowingly made a
false and fictitious statement to the federally licensed firearms dealer or their representative, which
statement was intended and likely to deceive the dealer, as to a fact material to the lawfulness of
such sale of the said firearm to the defendant under chapter 44 of Title 18, in that the defendant
represented on the Form 4473 that he had not been adjudicated mentally defective and committed
to mental institution, when in truth and in fact he had.

In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).

COUNT THREE
(False Statement in Connection with the Purchase of Firearms)
On or about August 12, 2017, within the Southern District of Texas and elsewhere within
the jurisdiction of the Court, defendant,
AJAY DHINGRA,
in connection with the acquisition of a firearm, as defined in Title 18 United States Code, Section
921, to wit:
Glock, model 34, 9 mm pistol;
from Academy Store 19 Houston, Texas, a federally licensed firearms dealer knowingly made a
false and fictitious statement to the federally licensed firearms dealer or their representative, which
statement was intended and likely to deceive the dealer, as to a fact material to the lawfulness of
such sale of the said firearm to the defendant under chapter 44 of Title 18, in that the defendant

represented on the Form 4473 that he had not been adjudicated mentally defective and committed
Case 4:19-cr-00648 Document 13 Filed on 09/04/19 in TXSD Page 3 of 4

to mental institution, when in truth and in fact he had.

In violation of Title 18, United States Code, Sections 922(a)(6) and 924(a)(2).

COUNT FOUR
(Possession of a Firearm and Ammunition — adjudicated mentally defective and
committed to mental institution)
On or about November 8, 2018, within the Southern District of Texas and elsewhere within
the jurisdiction of the Court, defendant,
AJAY DHINGRA,
knowing he had been adjudicated mentally defective and committed to mental institution, did
knowingly possess in and affecting interstate and foreign commerce firearms and ammunition,
namely:
Colt, model Competition, .223 caliber rifle;
Glock, model 34, 9 mm pistol; and
277 rounds of 9 mm ammunition.

In violation of Title 18, United States Code, Sections 922(g)(4) and 924(a)(2).

Property Subject to Forfeiture

The property subject to forfeiture includes, but is not limited to, the following property:
Case 4:19-cr-00648 Document 13 Filed on 09/04/19 in TXSD_ Page 4 of 4

Glock model 34, 9 mm pistol, serial number ACSE256

Colt, model Competition, multi-caliber rifle, serial number CCR009796,
A Slide Fire bumpstock, machinegun,

5 AR-15 magazines,

6 Glock magazines,

277 rounds of 9 mm ammunition.

AWB WN

A TRUE BILL

ORIGINAL SIGNATURE ON FILE

FOREPERSUNUP Loo Una vue

RYAN K. PATRICK
United States Attorney
Southern District of Texas

  

L/

ed irr nora naan irenanseet ee

STEVEN T. SCHAMMEL
Assistant United States Attorney

 
